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UNITED STATES DISTRICT COURT "‘ "“'
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION
)
ERIC 0. MOORE, )
)
Plaintiff, )
)
v. ) Case No. 04-2865-D

)
DRUG ENFORCEMENT AGENCY, )
)
Defendant. )
)

 

ORDER OF CONDITIONAL DISMISSAL

 

Before the Court is the complaint of Plaintiff Eric O. l\/Ioore. The Magistrate Judge
conducted a scheduling conference on April 21, 2005 , at Which neither of the parties appeared A
review of the record indicates that Plaintiff has failed to effectuate service or to prosecute the case.
Accordingly, pursuant to Fed. R. Civ. P. 4], the Court conditionally dismisses the instant action.
The dismissal will become final thirty days after entry of the instant order should Plaintiff fail to

effectuate service and take the necessary steps to prosecute the case.

IT Is so oRDERED this § _S` day 0prri1,2005.

  

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This notice confirms a copy of the document docketed as number 6 in
case 2:04-CV-02865 Was distributed by faX, mail, or direct printing on
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Handel R. Durham
DURHAM & ASSOCIATES
100 North Main St.

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l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

